                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

RADAMES MOLINA ALBELO, o/b/o                              )
himself and all other persons similarly                   )
situated,                                                 )
                                                          )
                          Plaintiff,                      )
                                                          )            Case No.: 4:17-cv-0454-DGK
v.                                                        )
                                                          )
EPIC LANDSCAPE PRODUCTIONS, L.C,                          )
                                                          )
                          Defendant.                      )

                   ORDER DENYING MOTION FOR RECONSIDERATION

        This is a collective action lawsuit seeking to recover unpaid wages and overtime pursuant

to the Fair Labor Standards Act (“FLSA”). The Second Amended Complaint, ECF No. 34, adds

Rule 23 class action claims for various state law causes of action, including breach of contract.

On May 23, 2018, the Court 1 conditionally certified a collective class of current and former

landscape laborers who worked for Defendant. A motion to certify a Rule 23 class is currently

pending, as is a motion to de-certify the collective class, and cross-motions for summary

judgment.

        Now before the Court is Defendant’s Motion for Reconsideration.                         ECF No. 231.

Defendant asks the Court to reconsider its May 6 Order directing Defendant to provide electronic

pay records for putative Rule 23 class members. Order Clarifying Prior Order, ECF No. 230. In

short, Defendant argues the order was incorrect and will lead to an overly broad document

production.

        The history of this motion is as follows. On May 4, 2021, the parties contacted the Court’s


1
  This case was previously assigned to the Honorable Ortrie D. Smith, Senior Judge, United States District Court for
the Western District of Missouri. It was transferred to the undersigned on January 22, 2020.



          Case 4:17-cv-00454-DGK Document 232 Filed 05/25/21 Page 1 of 4
courtroom deputy to schedule a discovery dispute teleconference concerning how the Court’s

December 8, 2020, Order, ECF No. 181, should be interpreted. A law clerk emailed the parties

back, writing, “Before Judge Kays schedules anything, he would like to know more about the

dispute. Could the parties email me back with a summary of the dispute?”

       Plaintiff’s counsel replied first outlining the dispute and summarizing his position.

Shortly afterward, defense counsel sent the following email:

              This dispute concerns an interpretation of Doc. 181, an Order
              addressing Epic’s objections to Plaintiffs’ Third Request for
              Production.

              On December 4, 2020, Plaintiffs moved to compel production of
              documents responsive to their Third Request for Production and
              specifically at issue here, Request No. 1. (Doc 177). In their
              motion, Plaintiffs wrote, “Request No. 1 asks for pay records for
              each opt-in plaintiff from June 5, 2014 to the present, in a format
              similar to that which Defendant already produced pay records. (Ex.
              1).” (Doc. 177 at 1). Epic opposed the motion. (Doc. 178).

              The Court ruled on the Motion on December 8, 2020. (Doc. 181).
              The Court overruled Epic’s objections and ordered Epic to produce
              the documents in Request No. 1. Id. After the Order, Epic produced
              pay records for each opt-in plaintiff from June 5, 2014 to the present.

              After the close of discovery on February 10, 2021, Plaintiffs reached
              out to Epic, alleging Epic failed to comply with the Court’s Order at
              Doc. 181, because it did not produce electronic pay records for all
              “class members.” Plaintiffs interpret “class members” to mean the
              putative class members of a Rule 23 class that does not yet exist.
              Plaintiffs moved to certify a Rule 23 class on March 10, 2021. (Doc.
              208.). The Court has not yet ruled on that motion.

              To Epic’s understanding, Plaintiffs’ position is that, on December 8,
              2020, the Court ordered Epic to produce payroll records for “class
              members” of the putative Rule 23 class, which did not exist and
              whose certification was not yet before the Court.



                                    2
        Case 4:17-cv-00454-DGK Document 232 Filed 05/25/21 Page 2 of 4
               Epic’s position is as follows:

           •   Plaintiffs’ motion to compel a response to Request No. 1 (Doc. 177)
               sought pay records for each opt-in plaintiff from June 5, 2014 to the
               present. It did not seek pay records for putative members of a Rule
               23 class, which did not exist.
           •   In Doc. 181, the Court ordered Epic to disclose pay records for each
               opt-in plaintiff from June 5, 2014 to the present. It did not order
               Epic to disclose pay records for putative members of a Rule 23 class,
               which did not exist.
           •   Epic disclosed these pay records.
           •   Discovery closed on February 10, 2021. (Doc. 156).
           •   Plaintiffs’ interpretation of Doc. 181 is an attempt to avoid the
               discovery deadline because Plaintiffs did not request the pay records
               for putative class members of the requested Rule 23 class before
               February 10, 2021.

               Epic recognizes the fast-approaching trial date of July 19, 2021, and
               Plaintiffs’ need to resolve this discovery dispute in a timely way.

Email chain dated May 4, 2021, ECF No. 232.

       The parties’ description of the dispute and the explanation of their positions was

equivalent to the one page summary from each party the Court typically reviews prior to ruling

on a discovery dispute pursuant to Local Rule 37.1. After reviewing the emails, and in light of

the rapidly approaching trial date, the Court determined—as it often does—that it did not need

to hold a formal teleconference with the parties to resolve this discovery dispute.

       The Court issued a short order which in relevant part stated:

                   The Court’s prior order is admittedly ambiguous. While
               Defendant’s reading of the [December 8] order is not unreasonable,
               given the rapidly approaching July trial date, the likelihood the
               Court will certify a Rule 23 class, and Plaintiffs’ counsel’s need for
               this information to calculate damages for the putative class, the prior
               order should be interpreted to mean Defendant shall provide
               electronic pay records for all putative Rule 23 class members as
               well.


                                     3
         Case 4:17-cv-00454-DGK Document 232 Filed 05/25/21 Page 3 of 4
                   Defendant shall produce these records by May 27, 2021, unless
                Plaintiffs agree in writing to their production at some later time.

Order at 1–2.

       On May 14, Defendant filed the pending eight-page motion for reconsideration which

expands upon the arguments made in the May 4 email, but does not provide any new facts or law.

       After carefully reviewing the pending motion and re-reading the December 8 Order, the

parties’ May 4 emails, and the Court’s May 6 Order, the Court sees no error in the May 6 Order

that merits reconsideration. Accordingly, the motion for reconsideration is DENIED.

       Defendant shall produce the records by June 3, 2021.

       IT IS SO ORDERED.

Date: May 25, 2021                           /s/ Greg Kays
                                             GREG KAYS, JUDGE
                                             UNITED STATES DISTRICT COURT




                                    4
        Case 4:17-cv-00454-DGK Document 232 Filed 05/25/21 Page 4 of 4
